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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:

KAMRAN LIAQUAT KURANI,                                         CASE NO. 22-50579-PWB

           Debtor.                                             CHAPTER 7

     ASCENTIUM CAPITAL LLC’S MOTION FOR AN ORDER AUTHORIZING
   EXAMINATION UNDER BANKRUPTCY RULE 2004 OF NONDEBTOR ADRIAN
                            SZAKALLAS

          COMES NOW Ascentium Capital LLC (“Ascentium”) and hereby moves this Court for

entry of an order under Federal Rule of Bankruptcy Procedure 2004 (“Bankruptcy Rule 2004”) (1)

authorizing the examination of non-debtor Adrian Szakallas and (2) authorizing Ascentium’s

counsel to issue a subpoena to compel the Szakallas to appear for examination under oath and

produce documents for Ascentium's review. In support hereof, Ascentium shows this Court the

following:

                                         JURISDICTION

          (1)   The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

          (2)   Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         BACKGROUND

          (3)   Debtor filed this Chapter 7 bankruptcy case on January 21, 2022 (the “Petition

Date”).

          (4)   Ascentium is a creditor in this case by virtue of a default judgment (the “Judgment”)

entered in August 2019 against Debtor in the lawsuit captioned Ascentium Capital LLC v. Kamran




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L. Kurani, Saima S. Kurani, and Legacy Pizza Properties LLC, 19SC-0292-B, State Court of

Forsyth County, Georgia (the “State Court Contract Action”).

                                      RELIEF REQUESTED

        (5)     Ascentium requests entry of an order (a) authorizing Ascentium to conduct an

examination under Bankruptcy Rule 2004 of Adrian Szakallas at a mutually agreeable date, time,

and place or upon subpoena; (b) authorizing Ascentium’s counsel to issue a subpoena under

Bankruptcy Rules 2004(c) and 9016 and Federal Rule of Civil Procedure 45 to compel Szakallas

to appear for examination and to produce designated documents for Ascentium’s review.

                                  BASIS FOR RELIEF REQUESTED

        (6)     Bankruptcy Rule 2004 provides, in pertinent part, that upon the motion of any party

in interest, “the court may order the examination of any entity.” Fed. R. Bankr. P. 2004(a).

        (7)     Under Rule 2004(c), "[t]he attendance of an entity for examination and for the

production of documents, whether the examination is to be conducted within or without the district

in which the case is pending, may be compelled as provided in Rule 9016 for the attendance of a

witness at a hearing or trial.”

        (8)     Bankruptcy Rule 9016 states, “Rule 45 F.R.Civ.P. applies in cases under the Code.”

Federal Rule of Civil Procedure 45, in turn, prescribes the processes and procedures for the

issuance of subpoenas to compel the production of documents and attendance at a deposition or

hearing. E.g., In re Marathe, 459 B.R. 850, 857 (Bankr. M.D. Fla. 2011 ("Rule 45 governs the

issuance and service of subpoenas in proceedings in Courts of the United States.).

        (9)     The scope of an examination under Bankruptcy Rule 2004 is broad. The

examination may relate to any “acts, conduct or property or to the liabilities and financial condition




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of the debtor, or to any matter which might affect the administration of the debtor’s estate, or to

the debtor’s right to a discharge.” Fed. R. Bankr. P. 2004(a).

        (10)    The purpose of an examination under Bankruptcy Rule 2004 is to assist a party in

interest in determining the nature and extent of the bankruptcy estate, revealing assets, examining

transactions and assessing whether wrongdoing has occurred. See Cameron v. United States, 231

U.S. 710, 717 (1914). See also Akins v. Akins (In re Akins), Adv. Proc. No. 13-1024, 2013 WL

6211809, at *1 (Bankr. N.D. Ga. Aug. 14, 2013) (Drake, B.J.) (“The purpose of a Rule 2004

examination is to discover the condition of the estate and the extent and whereabouts of any

property, thereby facilitating the recovery of estate assets for the benefit of creditors.”).

        (11)    To that end, “courts have recognized that Rule 2004 examinations are ... in the

nature of fishing expeditions,” In re Kelton, 389 B.R. 812, 820 (Bankr. S.D. Ga. 2008) (ellipses in

original) (quoting In re Enron Corp., 281 B.R. 836, 840 (Bankr. S.D.N.Y. 2002)), with the only

limitation being that “the information sought relate[] to ‘the acts, conduct, or property or to the

liabilities and financial condition of the debtor, or to any matter which may affect the

administration of the debtor's estate.’” In re MMH Auto. Grp., LLC, 346 B.R. 229, 233 (Bankr.

S.D. Fla. 2006) (quoting Fed. R. Bankr. P. 2004(a)).

        (12)    Moreover, Rule 2004 broadly allows an examination of “creditors and third parties

who have had dealings with the debtor.” In re Wilcher, 56 B.R. 428, 433 (Bankr. N.D. Ill. 1985);

see also In re Johns-Manville Corp., 42 B.R. 362, 364 (S.D.N.Y. 1984) (“the inquiry may ‘cut a

broad swath through the debtor’s affairs, those associated with him, and those who might have had

business dealings with him.’”) (citation omitted).

        (13)    A request for a Bankruptcy Rule 2004 examination may be granted on an ex parte

basis. See, e.g., In re M4 Enters., 190 B.R. 471, 473 n.2 (Bankr. N.D. Ga. 1995) (“As most




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practitioners are aware, courts customarily dispose of [Bankruptcy] Rule 2004 motions on an ex

parte basis.”).

          (14)    Here, Ascentium seeks an examination directed at, among other things, Szakallas’s

dealings with Debtor, information that may affect the administration of this estate, and information

related to the acts, conduct, and liabilities of Debtor, and possibly to Debtor’s right to a discharge.

          (15)    An examination of Szakallas is appropriate for the following reasons, among

others:

         An examination of Szakallas will yield information relevant to the issues identified in
          Ascentium’s Motion for an Order Under Bankruptcy Rule 2004 Authorizing the
          Examination of Debtor [Doc. 16] (“Motion to Examine Debtor”), such as information
          concerning Debtor’s residence (both current and over the last three years) and the
          avoidability of Ascentium’s judgment lien that encumbers 860 Peachtree Street, Unit 703,
          Atlanta, Georgia (the "860 Peachtree Street Address"). This is because, as set forth in the
          Motion to Examine Debtor, Ascentium has reason to believe that (a) Debtor currently
          and/or in the previous three years has resided with Szakallas and (b) Szakallas is or recently
          was Debtor’s fiancé or spouse.

         Szakallas holds by far the largest general unsecured claim against Debtor, according to
          Debtor’s schedules. Szakallas holds a general unsecured claim of $292,744.04—or 42%
          of Debtor’s total general unsecured debt. See Doc. 11 at 3 (listing a $292,744.04
          nonpriority unsecured claim held by Szakallas); 26 (showing total nonpriority unsecured
          claims of $696,523.04).

         Szakallas was the previous owner of the 860 Peachtree Street Address until she sold it to
          Debtor in June 2018 for the amount of $310,000. Debtor financed the purchase with a loan
          from Regions Bank in the amount of $294,500 and granted Regions Bank a security deed
          as security.

         Kurani’s Schedule I states that he is employed by Bmark Consulting LLC. Debtor admitted
          at his Meeting of Creditors held on March 1, 2022, that Bmark Consulting is owned by
          Szakallas.

         Debtor’s Final Judgment and Decree of Divorce entered in October 2020 (regarding
          Debtor’s previous marriage to Saima Kurani) indicates the estate may hold a claim against
          Szakallas. The trial court found as follows: “The Court does find that Kamran Kurani's
          paramour appropriated $90,000 through the sale of a condominium. This $90,000
          constituted marital funds.”
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       (16)    In short, even disregarding Szakallas’s obvious relevance to the issues identified in

the Motion to Examine Debtor, Szakallas has a nearly ubiquitous relevance to this case by virtue

over her nearly ubiquitous influence over Debtor’s assets, liabilities, and income. Szakallas is at

once (a) Debtor’s largest general unsecured creditor, (b) the source of Debtor’s only real estate

asset and the ultimate beneficiary of Debtor’s secured loan with Regions Bank, (c) Debtor’s boss

and sole source of income, and (d) a potential source of recovery for the estate.

       WHEREFORE, Ascentium requests that the Court grant this motion and enter an order

(i) authorizing Ascentium to examine the Szakallas pursuant to Federal Rule of Bankruptcy

Procedure 2004(a) at a mutually agreeable date, time, and place or upon subpoena, (ii) authorizing

Ascentium’s counsel to issue a subpoena under Bankruptcy Rules 2004(c) and 9016 and Federal

Rule of Civil Procedure 45 to compel Szakallas to appear for such examination and produce

designated documents for Ascentium’s review, and (iii) granting Ascentium such other and further

relief the Court deems just and appropriate.

                                                     Submitted by:

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                         UNITED STATES BANKRUPTCY COURT
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IN RE:

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          Debtor.                                              CHAPTER 7

                                   CERTIFICATE OF SERVICE

       This is to certify that I have on this day electronically filed the foregoing Motion using the
Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this document and an
accompanying link to this document to the following parties who have appeared in this case under
the Bankruptcy Court’s Electronic Case Filing program:

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        I further certify that on this day I caused a copy of this document to be served via U.S.
First Class Mail, with adequate postage prepaid, on the following parties:

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                                             /s/ Tim Colletti
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